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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION                        ?$3":,;'i15 * p 2: 0 4
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 UNITED STATES OF AMERICA                                                                               3
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 v.                                                      Case No. 3 :05-cr-53-J-20MCR

 AARON LADD LONG
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                                         ORDER

        The United States' Amended Motion For Reduction Of Sentence For Timely Notification

 Of Intent To Plead Guilty (Doc. No. 456, filed March 17 2006) is GRANTED. The sentencing

 hearing is scheduled for Thursday, July 6,2006 at 10:OO a.m.

        DONE AND ORDERED at Jacksonville, Florida, this         /c? day of May, 2006.



 Copies to:
 D. Rodney Brown, Esq.
 Wade M. Rolle, Esq.
 U.S. Probation
